Case 19-71228       Doc 33     Filed 11/19/19 Entered 11/19/19 10:44:10             Desc Main
                                 Document     Page 1 of 8


                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                 VALDOSTA DIVISION

 IN RE:                                        )               CASE NO. 19-71228 JTL
                                               )
 RICKEY S. CARTER                              )
                                               )
          DEBTOR                               )               CHAPTER 7

                 ABANDONMENT OF PROPERTY OF THE ESTATE

          After Notice and opportunity to object, Robert M. Matson, Trustee of the estate of

 the above-named Debtor, has determined that the following property is burdensome to

 the estate:

                               PROPERTY DESCRIPTION

     1. 235 Walton Way, Nashville, GA 31639 (Asset 1.1 on Amended Schedule A/B)
        with a scheduled value of $400,000.00.
     2. 529 Jackson Circle, Valdosta, GA 31602 (Asset 1.2 on Amended Schedule A/B)
        with a scheduled value of $475,000.00.
     3. 44.5 acres on Bonnie Lane, Lake Park, GA 31636 (Asset 1.6 on Amended
        Schedule A/B) with a scheduled value of $100,000.00.
     4. Lot 19, White Pond Estates, Berrien County, GA (Asset 1.9 on Amended
        Schedule A/B) with a scheduled value of $5,000.00.
     5. 2016 Hurricane SS boat, 2016 Yamaha outboard motor and 2016 Road King
        Trailer (Asset 4.1 on Amended Schedule A/B) with a scheduled value of
        $20,000.00.
     6. Whole life insurance policy issued by Investors Life Insurance Company of North
        America (4th policy listed on Asset 31 on Amended Schedule A/B) with a
        scheduled value of $13,826.00.
     7. Term life insurance policy issued by Federated Insurance Company (6th policy
        listed on Asset 31 on Amended Schedule A/B) with a scheduled value of $0.00.
     8. 100% membership interest in Nashville Tractor, Inc. (Asset 19 on Amended
        Schedule A/B) with a scheduled value of $0.00.
     9. 100% membership interest in Nashville Rentals, Inc. (Asset 19 on Amended
        Schedule A/B) with a scheduled value of $0.00.

          Items one through seven are pledged to the Bank of Alapaha and cannot be

 liquidated to realize a benefit for the estate. The Trustee is also abandoning all of these

 assets to avoid potential adverse tax consequences to the estate. Now, therefore, pursuant
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                                 Document     Page 2 of 8


 to the powers vested in 11 U.S.C. § 554(a), Robert M. Matson abandons the above-

 described property to the extent that it is property of the estate.

         This 19th day of November, 2019.

                                                  /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                    Robert M. Matson
 P.O. Box 1773                                   Chapter 7 Trustee
 Macon, GA 31202                                 State Bar No. 477102
 (478) 742-1889
 rmatson@akin-webster.com
Case 19-71228       Doc 33     Filed 11/19/19 Entered 11/19/19 10:44:10              Desc Main
                                 Document     Page 3 of 8


                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                 VALDOSTA DIVISION

 IN RE:                                         )               CASE NO. 19-72118 JTL
                                                )
 RICKEY S. CARTER                               )
                                                )
          DEBTOR                                )               CHAPTER 7

                              CERTIFICATE OF SERVICE

         This certifies that I served a copy of the Abandonment of Property of the Estate
 on Thomas D. Lovett and the Office of the United States Trustee via CM/ECF
 electronic notice and on all interested parties listed in the attached matrix by depositing it
 in the US Mail in a properly addressed envelope with adequate postage attached.

          This 19th day of November, 2019.

                                                 /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                   Robert M. Matson
 P.O. Box 1773                                  Chapter 7 Trustee
 Macon, GA 31202                                State Bar No. 477102
 (478) 742-1889
 rmatson@akin-webster.com
                  Case
Label Matrix for local     19-71228
                       noticing       Doc 33 CNHFiled  11/19/19
                                                 Industrial           Entered
                                                            Capital America, LLC 11/19/19 10:44:10
                                                                                             Diversified Desc   Main
                                                                                                         Financial Services, LLC
113G-7                                            Document           Page
                                             c/o John T. McGoldrick, Jr.     4  of 8         c/o Joseph W. Dent
Case 19-71228                                  P.O. Box 1606                                    320 Residence Avenue
Middle District of Georgia                     Macon, GA 31202-1606                             P.O. Box 2008
Valdosta                                                                                        Albany, GA 31702-2008
Tue Nov 19 10:08:02 EST 2019
(p)FARMERS AND MERCHANTS BANK GA               Weeks Farm Machinery Auction, Inc.               7
3303 INNER PERIMETER ROAD                      c/o David L. Bury, Jr.                           901 Front Avenue
VALDOSTA GA 31602-7094                         Stone & Baxter, LLP                              P.O. Box 2147
                                               577 Mulberry Street, Suite 800                   Columbus, GA 31902-2147
                                               Macon, GA 31201-8256

#Georgia Dept. of Revenue                      A&I Products                                     Ag-Pro Companies
Compliance Division                            25639 Network Plance                             P.O. Box 95
ARCS-Bankruptcy                                Chicago, IL 60673-1256                           Boston, GA 31626-0095
1800 Century Blvd., NE, Suite 9100
Atlanta, GA 30345-3205

Alamo Group                                    Alexander’s Replacement Parts                    Amex
P.O. Box 840341                                P.O. Box 28                                      Correspondence/Bankruptcy
Dallas, TX 75284-0341                          Winnsboro, TX 75494-0028                         Po Box 981540
                                                                                                El Paso, TX 79998-1540


Amex                                           Ansung-USA, LLC                                  Atlantic Qual.
Po Box 297871                                  1402 Dunn Drive Suite 110                        P.O. Box 8878
Fort Lauderdale, FL 33329-7871                 Carrollton, TX 75006-6927                        Carol Stream, IL 60197-8878



Bad Boy Inc.                                   Bank of Alapaha                                  Bank of Alapaha
102 Industrial Drive                           P.O. Box 45                                      c/o Karl E. Osmus
Batesville, AR 72501-9776                      Alapaha, GA 31622-0045                           1010 Williams Street
                                                                                                Valdosta, Georgia 31601-4039


Basic Software Sytems                          Bell, Inc.                                       Bennett International Logistic
905 North Kings Highway                        P.O. Box 223                                     P.O. Box 100004
Texarkana, TX 75501-2201                       Inverness, MS 38753-0223                         McDonough, GA 30253-9304



Blue Diamond Attachments                       Brown Manufacturing                              Bush Hog, LLC
4512 Anderson Rd.                              6001 E. Hwy 27                                   P.O. Box 277213
Knoxville, TN 37918-2713                       Ozark, AL 36360-3965                             Atlanta, GA 30384-7213



CNH Capital America LLC                        CNH Industrial Capital America, LLC              CNH Industrial Capital America, LLC
233 Lake Avenue                                19500 N. 1425 East Rd.                           c/o John T. McGoldrick, Jr.
Racine, WI 53403-1015                          Hudson, IL 61748-7630                            P.O. Box 1606
                                                                                                Macon, Georgia 31202-1606


Card Assets Llc                                Cathy Walker                                     Chase Card Services
600 W Main                                     123 Bonnie Lane                                  Attn: Bankruptcy
Jacksonville, AR 72076-4432                    Lake Park, GA 31636-5607                         Po Box 15298
                                                                                                Wilmington, DE 19850-5298
Chase Card ServicesCase 19-71228   Doc 33 Cinta
                                            Filed
                                                Corp11/19/19
                                                     #220    Entered 11/19/19 10:44:10      Desc
                                                                                 Coleman Talley,  LLPMain
Po Box 15298                                    Document
                                          P.O. Box 360910    Page 5 of 8         c/o Mark Gilbert
Wilmington, DE 19850-5298                  Cincinnati, OH 45263-0910                P.O. Box 5437
                                                                                    Valdosta, GA 31603-5437


Colonial Life Premium Process              Community Coffee Company                 Cowart & Son Storage
P.O. Box 903                               P.O. Box 679510                          2317 Old Clyattville RD.
Columbia, SC 29202-0903                    Dallas, TX 75267-9510                    Valdosta, GA 31601-1235



David M. Wolfson, P.C.                     Davis, Pickren, Seydel & Sneed           Diamond Mowers Inc.
c/o Karl Osmus                             c/o Patrick Sneed                        P.O. Box 85030
1010 Williams Street                       285 Peachtree Center Avenue Suite 2300   Sioux Falls, SD 57118-5030
Valdosta, GA 31601-4039                    Atlanta, GA 30303-1232


Dirt Dog Manufacturing                     (p)DISCOVER FINANCIAL SERVICES LLC       Dish Network
2405 US 441 South                          PO BOX 3025                              PO Box 9033
Commerce, GA 30529-4889                    NEW ALBANY OH 43054-3025                 Littleton, CO 80160-9033



Diversified Financial Services             Diversified Financial Services, LLC      EMC Insurance Companies
P.O. Box 30040                             c/o Joseph W. Dent                       P.O. Box 219225
Omaha, NE 68103-1140                       Watson Spence LLP                        Kansas City, MO 64121-9225
                                           P. O. Box 2008
                                           Albany, GA 31702-2008

Elizabeth A. Hardy                         Engine Power Source                      Farmers and Merchants Bank
440 Martin Luther King Jr. Blvd.           P.O. Box 36190                           c/o Mark A. Gilbert
Room 302                                   Rock Hill, SC 29732-0502                 Coleman Talley LLP
Macon, GA 31201-7987                                                                P.O. Box 5437
                                                                                    Valdosta, GA 31603-5437

Fausett Oil Company                        Gardner of Florida Ltd.                  Georgia Attorney General
P.O. Box 266                               P.O. Box 538176                          40 Capital Square SW
Nashville, GA 31639-0266                   Atlanta, GA 30353-8176                   Atlanta, GA 30334-9057



(p)GEORGIA DEPARTMENT OF REVENUE           Great Plains                             Gulf Coast Turf & Tractor
COMPLIANCE DIVISION                        P.O. Box 226                             404 N. Frontage Rd.
ARCS BANKRUPTCY                            Salina, KS 67402-0226                    Plant City, FL 33563-9188
1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202

Henry Mitchem Equipment Co.                Implement Sales                          Internal Revenue Service
P.O. Box 490177                            1574 Stone Ridge Drive                   PO Box 7346
Leesburg, FL 34749-0177                    Stone Mountain, GA 30083-1404            Philadelphia, PA 19101-7346



John T. McGoldrick, Jr.                    Josh Burke                               Kelley Manufacturing Co.
Attorney at Law                            2116 Dogwood Drive                       P.O. Drawer 1467
P.O. Box 1606                              Valdosta, GA 31602-2708                  Tifton, GA 31793-1467
Macon, GA 31202-1606
Kimball Midwest Case 19-71228      Doc 33 Kubota
                                            Filed   11/19/19
                                                 Credit  Corp Entered 11/19/19 10:44:10      Desc
                                                                                  Kubota Credit Corp Main
Dept. L-2780                                   Document
                                          1000 Kubota Dr      Page 6 of 8         Attn: Bankruptcy
Columbus, OH 43260-2780                    Grapevine, TX 76051-2334                 Po Box 2046
                                                                                    Grapevine, TX 76099-2046


LMC-AG, LLC                                Land Pride                               Landoll Corporation
P.O. Drawer 3608                           P.O. Box 204183                          P.O. Box 469
Albany, GA 31706-3608                      Dallas, TX 75320-4183                    Marysville, KS 66508-0469



Lane Shark USA LLC                         Langdale Fuel Company                    Lisa Carter
4600 Highway 97A                           P.O. Box 0746                            235 Walton Way
Mc David, FL 32568-1439                    Valdosta, GA 31603-0746                  Nashville, GA 31639-6455



Loftness Specialized Eq Inc.               Lovett & Tharpe                          Mastercraft
P.O. Box 337                               P.O. Box 190                             333 Southwell Blvd.
Hector, MN 55342-0337                      Dublin, GA 31040-0190                    Tifton, GA 31794-8828



Monroe Tufline Manufacturing Co.           Mr. Cooper                               Mr. Cooper
P.O. Box 7755                              350 Highland                             Attn: Bankruptcy
Columbus, MS 39705-0004                    Houston, TX 77009-6623                   8950 Cypress Waters Blvd
                                                                                    Coppell, TX 75019-4620


Nashville Tractor, Inc.                    Nichols Tillage Tools, Inc.              Northside Automotive
807 Tifton Rd.                             312 Hereford Avenue                      P.O. Box 698
Nashville, GA 31639-8704                   Sterling, CO 80751-8472                  Valdosta, GA 31603-0698



Paladin Brands Group, Inc.                 Ricoh                                    Rotary Corporation
7194 Solution Center                       P.O. Box 740540                          P.O. Box 930216
Chicago, IL 60677-7001                     Atlanta, GA 30374-0540                   Atlanta, GA 31193-0216



Royal Brass and Hose                       Safety-Kleen Corp.                       Shell Credit Card
P.O. Box 51468                             P.O. Box 650509                          P.O. Box 183019
Knoxville, TN 37950-1468                   Dallas, TX 75265-0509                    Columbus, OH 43218-3019



Southern Marketing Affil.                  Sparex Inc.                              Stihl Southeast, Inc.
P.O. Box 2247                              1500 North Raddant Rd.                   2304 W. Taft Vineland Rd.
Jonesboro, AR 72402-2247                   Batavia, IL 60510-1377                   Orlando, FL 32837-7837



Studstill Firm, LLP                        Tag Manufacturing, Inc.                  Tarver Sales
Attn: Danny Studstill                      P.O. Box 23667                           84636 Highway 25
P. O. Box 647                              Chattanooga, TN 37422-3667               Folsom, LA 70437-5826
Nashville, GA 31639-0647
The Perry Company Case 19-71228           Doc 33 U. Filed  11/19/19
                                                    S. Securities         Entered
                                                                  and Exchange       11/19/19 10:44:10
                                                                               Commission                   Desc
                                                                                                 U.S. Attorney      Main
                                                                                                               General
500 S. Valley Mills Drive                             Document
                                                 Atlanta Regional Office Page    7  of 8         U.S. Department of Justice
Waco, TX 76711-1176                                  Reorganization Branch                                950 Pennsylvania Avenue, NW
                                                     950 East Paces Ferry Rd NE., Ste. 900                Washington, DC 20530-0001
                                                     Atlanta, GA 30326-1382

U.S. Trustee - MAC                                   United States Attorney                               VISA
440 Martin Luther King Jr. Boulevard                 Attn: Barbara Parker                                 P.O. Box 30131
Suite 302                                            Post Office Box 1702                                 Tampa, FL 33630-3131
Macon, GA 31201-7987                                 Macon, GA 31202-1702


Valmont Industries, Inc.                             Vans Equipment Co. Inc.                              WR Long, Inc.
P.O. Box 96969                                       P.O. Box 3157                                        P.O. Box 460
Chicago, IL 60693-6969                               Moultrie, GA 31776-3157                              Tarboro, NC 27886-0460



Weeks Farm Machinery Auction, Inc.                   Wells Fargo Home Mor                                 Wells Fargo Home Mortgage
c/o Dedra Varnadoe                                   Po Box 10335                                         Attn: Written Correspondence/Bankruptcy
2186 Sylvester Highway                               Des Moines, IA 50306-0335                            Mac#2302-04e Pob 10335
Moultrie, GA 31768-7100                                                                                   Des Moines, IA 50306


Windstream                                           Woods/Alloway                                        Rickey S. Carter
P.O. Box 9001908                                     P.O. Box 91736                                       235 Walton Way
Louisville, KY 40290-1908                            Chicago, IL 60693-1736                               Nashville, GA 31639-6455



Robert M. Matson                                     Thomas D. Lovett
Chapter 7 Trustee                                    Kelley, Lovett, Blakey and Sanders, P.C.
P.O. Box 309                                         P.O. Box 1164
Macon, GA 31202-0309                                 2912-B North Oak Street
                                                     Valdosta, GA 31602-5919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Farmers and Merchants Bank                           Discover Financial                                   (d)Discover Financial
PO Box 187                                           Attn: Bankruptcy Department                          Po Box 15316
Lakeland, GA 31635                                   Po Box 15316                                         Wilmington, DE 19850
                                                     Wilmington, DE 19850


(d)Farmers & Merchants Bank                          Georgia Dept. of Revenue
110 Carter St                                        Compliance Division
Lakeland, GA 31635                                   ARCS-Bankruptcy
                                                     1800 Century Blvd., NE, Suite 9100
                                                     Atlanta, GA 30345-3205




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
(u)Bank of Alapaha Case 19-71228   Doc 33 (d)Weeks
                                            FiledFarm
                                                    11/19/19       Entered
                                                        Machinery Auction,  LLC 11/19/19 10:44:10
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                                                                                                         MatrixMain
                                               Document
                                          c/o David L. Bury, Jr.  Page     8  of 8          Mailable recipients 106
                                            Stone & Baxter, LLP                             Bypassed recipients     2
                                            577 Mulberry Street, Suite 800                  Total                 108
                                            Macon, GA 31201-8256
